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                   UNITED STATES DISTRICT COURT FOR
                       THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                                 Case No.: 1:21-cr-00128-RC

              v.


WILLIAM ALEXANDER POPE,

                         Defendant .

    MOTION TO COMPEL THE GOVERNMENT TO IDENTIFY ALL
 EVIDENCE THAT HAS BEEN ALTERED OR DESTROYED AND TO BAN
 THE GOVERNMENT FROM USING CORRUPTED EXHIBITS IN TRIAL

        I move the Court to compel the government to identify all evidence they have altered,

destroyed, mutilated, concealed, degraded, or corrupted, and to prohibit the government from

using such evidence in trial. Under Brady v. Maryland, 373 U.S. 83, 87 (1963), the government

has an obligation to produce all favorable information without altering key details.

        18 U.S. Code § 1512(c)(1), specifies that: Whoever corruptly—alters, destroys, mutilates,

or conceals a record, document, or other object, or attempts to do so, with the intent to impair the

object’s integrity or availability for use in an official proceeding; or shall be fined under this title

or imprisoned not more than 20 years, or both.

        18 U.S. Code § 1519, specifies that: Whoever knowingly alters, destroys, mutilates,

conceals, covers up, falsifies, or makes a false entry in any record, document, or tangible object

with the intent to impede, obstruct, or influence the investigation or proper administration of any

matter within the jurisdiction of any department or agency of the United States or any case filed

under title 11, or in relation to or contemplation of any such matter or case, shall be fined under

this title, imprisoned not more than 20 years, or both.
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           At issue in this case are altered and mutilated video exhibits the government used in my

brother’s trial which they recently produced to me, as well as the government’s failure to

preserve bodycam recordings from my arrest.

           On May 10, 2024, the government sent me a statement from FBI case agent Clay Chase

stating that he contacted the Topeka Police Department on May 2, 2024, seven months after I

requested the government produce bodycams from my arrest, and that Agent Chase claims that

TPD told him the recordings were not preserved despite automatic 5-year retention policies

being in place for TPD bodycam evidence.

           On April 30, 2024, AUSA Matthew Beckwork produced to me the government’s exhibits

from my brother’s trial. Among these was Exhibit 101, which is a video clip taken from CCTV

camera 0114. This exhibit was degraded from the original 1080p video resolution to 720p, and

the video was noticeably altered and corrupted in several places compared to the video available

in evidence.com.1 This corruption completely obscured several key details of the scene at the

Senate Carriage Doors, including the man falling to the ground in the doorway, which led me to

step up intending to help the officer. This corruption also obscured important details of the man

who pushed me into the Capitol. Compare figures 1 and 2 from 2:17:00 PM; and compare

Figures 3 and 4 from 2:17:53 PM. Notice that in government exhibit 101, which I am including

as Exhibit 1,2 the top line of video where the timestamp is located is clear, while the rest is

garbled. This government alteration may have been done by layering copies of the video, and

using a filter to corrupt most of the top layer, but cropping where the timestamp appeared.



1
    Per Court Order No. 103: “Defendant may create still images from Highly Sensitive footage for use in this case.”

2
 Exhibit 1 (which is the government’s Exhibit 101 from my brother’s trial) may be accessed at:
https://rumble.com/v4uucxh-government-exhibit-101-from-michael-popes-trial.html
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Figure 1: Government exhibit 101 at 2:17:00 PM is completely corrupted other than the top line showing the timestamp.




Figure 2: Video on evidence.com which shows the same camera 0114, is not corrupted at 2:17:00 PM.
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Figure 3: Government Exhibit 101 2:17:53 is completely corrupted other than the top line showing the timestamp.




Figure 4: Video on evidence.com which shows the same camera 0114, is not corrupted at 2:17:53 PM.
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Figure 5: The government’s corrupted Exhibit 101 was shared with me on April 30, 2024, but was created by AUSA Matthew
Beckworth in USAfx on November 27, 2023, so was likely the version the Court considered in my brother’s trial.

         The loss of bodycam evidence, and the government’s use of degraded and corrupted

exhibits in January 6 trials is alarming. To prevent the government from doing this in my own

case, I am moving the Court to compel the government to identify all evidence that has been

altered, destroyed, mutilated, concealed, degraded, or corrupted, and to prohibit the government

from using such evidence in my trial.

         Respectfully submitted to the Court,

                                                                  By: William Pope

                                                                      /s/
                                                                  William Pope
                                                                  Pro Se Officer of the Court
                                                                  Topeka, Kansas
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                                    Certificate of Service
I certify a copy of this was filed electronically for all parties of record on May 13, 2024.
                                              /s/
                              William Alexander Pope, Pro Se
